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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

KEN PAXTON, in his official capacity as    §
Attorney General of Texas,                 §
DAVID SCHNITZ,                             §
TRACY MARTIN, and                          §
FLOICE ALLEN,                              §
      Plaintiffs,                          §
                                           §
vs.                                        §              Civil Action No. 4:22-cv-00143-P
                                           §
GARY M. RESTAINO, in his official          §              FIRST AMENDED COMPLAINT
Capacity as Acting Director, Bureau of     §
Alcohol, Tobacco, Firearms and Explosives, §
      Defendant.                           §

                                      INTRODUCTION

   1.    Federal law has regulated firearm suppressors under the Taxing Power since 1934. Since

1968, it has been illegal to make a firearm suppressor for personal use without first applying for

permission, and, if granted, paying a $200 tax, marking the suppressor with a serial number, and

registering the firearm suppressor.

   2.    Those regulations on the making of a firearm suppressor in Texas for personal use in

Texas do not survive the recognition in Heller that the right to keep and bear arms is a fundamental

and individual right. See District of Columbia v. Heller, 554 U.S. 570, 595 (2008) (“There seems to

us no doubt, on the basis of both text and history, that the Second Amendment conferred an

individual right to keep and bear arms.”).

   3.    “[T]he enshrinement of constitutional rights necessarily takes certain policy choices off

the table.” Heller, 554 U.S.at 636. The government may not tax the exercise of a constitutional

right. Murdock v. Com. of Pennsylvania, 319 U.S. 105, 113 (1943).
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   4.    To the extent that the regulations at issue are not per se prohibited, they instead must

survive intermediate scrutiny. They cannot because there has never been a public-safety

justification or any other legitimate justification for those regulations. Firearm suppressors are not

dangerous and are very rarely used in crimes.

   5.    David Schnitz, Tracy Martin, and Floice Allen are Texas citizens, have informed the

Attorney General of Texas that they intend to make a firearm suppressor for personal use in Texas

that will remain in Texas. Moreover, Schnitz, Martin, and Allen intend to make the firearm

suppressor out of basic materials that are not firearm suppressors and that would not be subject to

federal regulation if they possessed them for other reasons.

   6.    Upon such notification, Texas law requires the Attorney General of Texas, Ken Paxton,

to file suit against the federal government. TEX. GOV’T CODE § 2.054.

   7.    Consequently, Plaintiffs seek an injunction against enforcing federal firearms statutes and

regulations as applied to persons who make firearm suppressors in Texas for personal use that will

remain in Texas.

                                          I. PARTIES

   8.    Plaintiff Ken Paxton is the Attorney General of Texas who, under the circumstances

herein presented, is charged by state law with a duty to seek a declaratory judgment in federal

district court that Section 2.052 of the Texas Government Code is consistent with the United

States Constitution. TEX. GOV’T CODE § 2.054.

   9.    The Attorney General represents the State of Texas.

   10.   The State of Texas is a sovereign state, subject only to the Constitution of the United

States. TEX. CONST. art. I, § 1.



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   11.   The State of Texas has standing to assert its sovereign interest in regulating the making

of firearm suppressors in Texas for personal use that will stay in Texas and in promoting he

availability of firearm suppressors in Texas.

   12.   The State of Texas has quasi-sovereign interests in the health and safety of its citizens.

Suppressors combat hearing loss and promote self-defense.

   13.   Plaintiff David Schnitz is a United States Citizen who resides in the State of Texas.

Schnitz is a resident of Jim Wells County, which is located in the Southern District of Texas,

Corpus Christi Division. Schnitz intends to manufacture a firearm suppressor to which section

2.052 of the Texas Government Code applies, and has notified the attorney general of that fact in

writing. Exhibit 1.

   14.   Plaintiff Tracy Martin is a United States Citizen who resides in the State of Texas. Martin

is a resident of Rockwall County, which is located in the Northern District of Texas, Dallas

Division. Martin intends to manufacture a firearm suppressor to which section 2.052 of the Texas

Government Code applies and has notified the attorney general of that fact in writing. Exhibit 1.

   15.   Plaintiff Floice Allen is a United States Citizen who resides in the State of Texas. Allen

is a resident of Tarrant County, which is located in the Northern District of Texas, Fort Worth

Division. Allen intends to manufacture a firearm suppressor to which section 2.052 of the Texas

Government Code applies and has notified the attorney general of that fact in writing. Exhibit 1.

   16.   Defendant Gary M. Restaino is the Acting Director of the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“BATFE”). That agency is responsible for the enforcement of the

challenged federal laws.




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                            II. JURISDICTION AND VENUE

   17.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal question

jurisdiction), because this action arises under the United States Constitution and under 28 U.S.C.

§ 1346(a)(2), because this suit constitutes a civil action against an executive department of the

United States.

   18.   The Court is authorized to award the requested injunctive relief under 28 U.S.C. § 1361.

   19.   The Anti-Injunction Act, 26 U.S.C. § 7421, does not bar this case because Plaintiffs are

irreparably harmed and because under no circumstances can the government ultimately prevail.

Enochs v. Williams Packing & Navigation Co., 370 U.S. 1, 7 (1962).

   20. The Anti-Injunction Act does not apply to requirements that Texans apply for and

receive permission to make firearm suppressors for personal use in Texas, or to requirements that

citizens register and place serial numbers on firearm suppressors made in Texas for personal use

in Texas, because those are neither the assessment nor the collection of taxes. CIC Services, LLC

v. Internal Revenue Service, 141 S. Ct. 1582, 1592 (2021).

   21.   Venue lies in this district pursuant to 28 U.S.C. § 1391(e)(1)(B) because a substantial part

of the events or omissions giving rise to the claim occurred in this district, and because a plaintiff

resides in this venue and no real property is involved in the action. § 1391(e)(1)(C).

                             III. FACTUAL BACKGROUND

A. Firearm Suppressors

   22. Under federal law, “[t]he terms ‘firearm silencer’ and ‘firearm muffler’ mean any device

for silencing, muffling, or diminishing the report of a portable firearm, including any combination

of parts, designed or redesigned, and intended for use in assembling or fabricating a firearm silencer



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or firearm muffler, and any part intended only for use in such assembly or fabrication.” 18 U.S.C.

§ 921(a)(24).

   23.   To “diminish[] the report of a portable firearm” is to make it quieter when fired. See

United States v. Syverson, 90 F.3d 227, 229 (7th Cir. 1996) (the government “introduced evidence

showing that Syverson had knowingly possessed the cylinder and that it could be used to reduce

the report of a pistol from 151 decibels to 144.5.”).

   24. “[T]he term ‘silencer’ is a misnomer, in that—despite movie fantasies—a noise

suppressor reduces decibels, but does not actually ‘silence’ that discharge of a firearm. Noise may

be muffled or diminished, and maybe only by a few decibels at that, but it can still be heard.”

Stephen P. Halbrook, Firearm Sound Moderators: Issues of Criminalization and the Second

Amendment, 46 CUMB. L. REV. 35, 36 (2016) (“Halbrook”).

   25.   “Firearm silencers” or “Firearm mufflers” are also commonly known as “firearm

suppressors,” or simply “suppressors,” “silencers,” or “mufflers.” See United States v. Bolatete,

977 F.3d 1022, 1028 (11th Cir. 2020) (referring to “suppressors or silencers (which are the same

thing)”); United States v. Taylor, 100 Fed. Appx. 305, 307 (5th Cir. 2004) (irrelevant subsequent

history omitted) (“Taylor admitted that he had tried to make silencers with the help of a book

entitled ‘How to Build Practical Firearms Suppressors: an Illustrated Step-by-Step Guide.’”). At

least one scholar has also referred to them as “sound moderators” and “noise suppressors.”

Halbrook, supra.

   26.   In this Complaint, the term “firearm suppressor” has the same meaning as

“suppressor,” “noise suppressor,” “firearm silencer,” “silencer,” “firearm muffler,”




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“muffler,” and “sound moderator,” unless otherwise specified or a different meaning is apparent

from the context.

    27.   Firearm suppressors were invented by Hiram Percy Maxim in the first decade of the 20th

century. He also invented the car engine muffler and mufflers for loud factory equipment around

the same time. Firearm suppressors and car engine mufflers operate on similar principles. Noise is

caused by hot gasses exiting the muzzle of a gun or the exhaust pipe of an automobile. Firearm

suppressors and car engine mufflers cause the escaping hot gas to swirl and cool, lowering the

volume of the noise. Halbrook, supra, at 41–42; FIREARMS LAW AND THE SECOND AMENDMENT:

REGULATION, RIGHTS,      AND   POLICY, NICHOLAS J. JOHNSON,        ET AL.   at 557–58 (3rd ed. 2021)

(“Firearms Law and the Second Amendment”); HIRAM PERCY MAXIM, ALICE CLINK SCHUMACHER

(1998) at 48–53.

    28. On information and belief, firearm suppressors may be made out of commonly and legally

available products, many of which are sold by firearms dealers and Amazon.com. 1

    29.   Firearm suppressors should not be regulated at all because they are widely accepted and

very infrequently used in criminal activity. As Ronald Turk, former second in command of

BATFE, stated in 2017:

    In the past several years, opinions about silencers have changed across the United States.
    Their use to reduce noise at shooting ranges and applications within the sporting and
    hunting industry are now well recognized. At present, 42 states generally allow silencers to
    be used for sporting purposes….

    While DOJ and ATF have historically not supported removal of items from the [National
    Firearms Act of 1934], the change in public acceptance of silencers arguably indicates that
    the reason for their inclusion in the [National Firearms Act of 1934] is archaic and historical
    reluctance to removing them from the [National Firearms Act of 1934] should be


1See, e.g., https://www.theverge.com/2019/8/26/20828900/silencer-suppressor-online-sales-
gun-accesories-atf-rules (accessed February 24, 2022).
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      reevaluated. ATF’s experience with the criminal use of silencers also supports reassessing
      their inclusion in the [National Firearms Act of 1934]. On average in the past 10 years, ATF
      has only recommended 44 defendants a year for prosecution on silencer-related violations;
      of those, only approximately 6 of the defendants had prior felony convictions. Moreover,
      consistent with this low number of prosecution referrals, silencers are very rarely used in
      criminal shootings. Given the lack of criminality associated with silencers, it is reasonable
      to conclude that they should not be viewed as a threat to public safety necessitating
      [National Firearms Act of 1934] classification, and should be considered for reclassification
      under the [Gun Control Act of 1968].

Exhibit 2, Options to Reduce or Modify Firearms Regulations, White Paper (Not for public

distribution), Ronald Turk, Associate Deputy Director (Chief Operating Officer), Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF), January 20, 2017, at 6–7.

30.        Firearm suppressors are not dangerous. On the contrary, National Hearing Conservation

Association (NHCA) Task Force on Prevention of Noise-Induced Hearing Loss from Firearm

Noise recommend the use of firearm suppressors as a strategy to reduce the risk of acquiring noise

induced hearing loss. 2 The CDC agrees, stating: “The only potentially effective noise control

method to reduce …noise exposure from gunfire is through the use of noise suppressors that can

be attached to the end of the gun barrel.” 3 In addition to reducing noise, firearm suppressors also

reduce recoil, allowing shooters better control over their weapon and leading to improved accuracy

and better shot placement.




2Michael Stewart et al, NHCA Position Statement Recreational Firearm Noise (2017), available at
https://www.hearingconservation.org/assets/docs/NHCA_position_paper_on_firea.pdf
(accessed May 16, 2022).
3Lilia Chen & Scott E. Brueck, Cender for Disease Control and Prevention National Institute for
Occupational Safety and Health, Noise and Lead Exposures at an Outdoor Firing Range—California
(2011), available at: https://americansuppressorassociation.com/wp_asa/wp-
content/uploads/2017/01/CDC-Study-California-Firing-Ranges.pdf (accessed May 16, 2022).
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31.         On information and belief, use of firearms suppressors by police and the military has

become increasingly common as a means to increase safety. 4

      32.   Moreover, on information and belief, the tax on firearms suppressors does not raise

significant revenue, and does not even pay the costs to enforce the tax. As Ronald Turk stated in

2017:

      The wide acceptance of silencers and corresponding changes in state laws have created
      substantial demand across the country. This surge in demand has caused ATF to have a
      significant backlog on silencer applications. ATF’s processing time is now approximately
      8 months. ATF has devoted substantial resources in attempts to reduce processing times,
      spending over $1 million annually in overtime and temporary duty expenses, and dedicating
      over 33 additional full-time and contract positions since 2011 to support NFA processing.
      Despite these efforts, [National Firearms Act of 1934] processing times are widely viewed
      by applicants and the industry as far too long, resulting in numerous complaints to
      Congress. Since silencers account for the vast majority of [National Firearms Act of 1934]
      applications, the most direct way to reduce processing times is to reduce the number of
      silencer applications.

Exhibit 2.

      33.   There are over 2.6 million firearm suppressors registered in the United States, including

over 500,000 registered in Texas. BATFE, Firearms Commerce in the United States, Annual

Statistical Update 2021, at 16. They are legal to possess in 42 states, including Texas. Firearms Law

and the Second Amendment at 600.




4 See, e.g., Kip Hill, The Spokesman-Review, Spokane Police will add suppressors to rifles, citing
concerns about hearing damage (October 7, 2017),
https://www.spokesman.com/stories/2017/oct/07/Spokane-police-will-add-suppressors-to-
rifles-citi/ (accessed May 16, 2022); Matthew Cox, Military.com, The Marine Corps Has Started
Fielding 30,000 Rifle Suppressors to Combat Units (December 29, 2020),
https://www.military.com/daily-news/2020/12/29/marine-corps-has-started-fielding-30000-
rifle-suppressors-combat-units.html (accessed May 16, 2022)
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B. Complainants

   34.   Schnitz, Martin, and Allen each intend to personally manufacture a firearm suppressor

for their own personal use. The firearm suppressors will be manufactured in their homes from basic

materials without the inclusion of any part imported from another state other than a generic and

insignificant part, such as a spring, screw, nut, or pin. Schnitz, Martin, and Allen have notified the

attorney general in writing of these facts. Exhibit 1.

   35.   Schnitz, Martin, and Allen intend to own the firearm suppressors in perpetuity, to never

transport them outside the boundaries of the State of Texas, and to never transfer them to another

person. Schnitz, Martin, and Allen intend to use the firearm suppressors with a personal firearm,

exclusively for the purpose of home defense. Exhibit 1.

   36.   Use of a firearm suppressor with a personal firearm for home defense will empower

Schnitz, Martin, and Allen to better defend their homes in the event of a home invasion. Use of a

firearm suppressor will allow Schnitz, Martin, and Allen to diminish the need to obtain and use

hearing protection during a home invasion. Use of a firearm suppressor in lieu of use of hearing

protection will allow Schnitz, Martin, and Allen the ability to react more quickly, to fully use their

sense of hearing to evaluate the danger, and to make proper decisions about their actions, including

when to initiate and cease the use of lethal force. Exhibit 1.

                                     IV. FEDERAL LAW

   37.   As one scholar has written, “Devices to reduce noise at its source are ubiquitous in

modern society. But imagine if you had to register with the government, obtain permission of law

enforcement, submit fingerprints, and pay a $200 tax in order to have a muffler on your automobile

or lawn mower. You have to do exactly that to obtain a device to muffle the noise from your firearm,



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and if you fail to do so, you can be imprisoned for ten years.” Halbrook, supra, at 35 (footnotes

omitted).

A. Federal law defines firearm suppressors as “firearms.”

     38.   Most firearms are regulated under Gun Control Act of 1968 as amended, 18 U.S.C. § 921

et seq. The Gun Control Act of 1968 is a commerce regulation.

     39.   Firearm suppressors are also regulated under the Gun Control Act of 1968, which defines

firearm suppressors as “firearms.” “The term ‘firearm’ means (A) any weapon (including a

starter gun) which will or is designed to or may readily be converted to expel a projectile by the

action of an explosive; (B) the frame or receiver of any such weapon; (C) any firearm muffler or

firearm silencer; or (D) any destructive device.” 18 U.S.C. § 921(a)(3). “The terms ‘firearm

silencer’ and ‘firearm muffler’ mean any device for silencing, muffling, or diminishing the report

of a portable firearm, including any combination of parts, designed or redesigned, and intended for

use in assembling or fabricating a firearm silencer or firearm muffler, and any part intended only

for use in such assembly or fabrication.” 18 U.S.C. § 921(a)(24).

     40. But the Gun Control Act does not prohibit the making of standard firearms and firearm

suppressors for personal use. 18 U.S.C. § 922 lists many prohibitions, but there is no prohibition

on making firearm suppressors for personal use.

     41.   BATFE confirms that there is no legal prohibition on making firearms (including firearm

suppressors) for personal use, but that “the making of an NFA firearm [i.e. firearms covered by

the National Firearms Act of 1934, including firearm suppressors] requires a tax payment and

advance approval by ATF.” 5


5 https://www.atf.gov/firearms/qa/does-individual-need-license-make-firearm-personal-use
(last accessed May 17, 2022).
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    42. Firearm suppressors are also regulated under the National Firearms Act of 1934 as

amended, 26 U.S.C. § 5801 et seq. The National Firearms Act of 1934 is a tax statute, located in

the United States Code at Title 26 (“Internal Revenue Code”), Subtitle E (“Alcohol, Tobacco,

and Certain Other Excise Taxes”), Chapter 53 (“Machine Guns, Destructive Devices, and Certain

other Firearms”).

    43.   “While the National Firearms Act of 1934 is based on Congress’s tax power and only

covered [a] small fraction of the American gun supply [including firearm suppressors], the Gun

Control Act of 1968 applies to all firearms manufactured after 1898 and is based on the interstate

commerce power.” Firearms Law and the Second Amendment, supra, at 660.

    44. The National Firearms Act of 1934 defines “firearms” as eight categories of things,

including, generally, short-barreled shotguns., short-barreled rifles, machine guns, “destructive

devices” (such as explosives, artillery, and missiles), and firearm suppressors. 26 U.S.C. § 5845(a)

(listing the eight categories); 5845(a)(7) (listing “any silencer (as defined in section 921 of title 18,

United States Code [the Gun Control Act of 1968, quoted above]”).

    45.   “Note this unusual definition of ‘firearm.’ As used in the [National Firearms Act of

1934], a ‘firearm’ does not include most weapons that are normally called firearms, such as most

rifles, shotguns, and handguns. Instead, the category of [National Firearms Act 1934] ‘firearms’

includes only some particular weapons that were thought to be gangster weapons. By [National

Firearms Act of 1934] definition, ‘firearm’ also includes accessories such as sound suppressors

(‘silencers’).” Firearms Law and the Second Amendment, supra, at 574 n.58.

    46.   The fact that the National Firearms Act of 1934 regulates firearm suppressors at all is

merely a historical accident. The initial draft of the bill would have regulated only firearm



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suppressors used in connection with other firearms regulated by the National Firearms Act of 1934,

such as machine guns and short-barreled shotguns. However, with nearly no comment or attention

by Congress on the need for regulation or taxation of firearm suppressors generally, the text was

rewritten to apply the National Firearms Act of 1934’s regulations to all suppressors, as if they

themselves were similar to machine guns or short barreled shotguns. Halbrook, supra, at 46–52

(reciting the relevant legislative history).

    47.   “By being defined as a ‘firearm’ in the [National Firearms Act of 1934], a [firearm]

suppressor is subject to the same strict requirements involving registration, taxation, and approval

by the government that apply to machines guns and artillery.” Halbrook, supra, at 39.

    48. Moreover, an item that does not itself silence, muffle, or diminish the report of a portable

firearm is also a “firearm” if it is “intended for use in assembling or fabricating a [firearm

suppressor], and any part intended only for use in such assembly or fabrication.” 18 U.S.C.

§ 921(a)(24). Thus, a metal pipe is a “firearm” subject to taxation and regulation under the

National Firearms Act of 1934 if the owner of the metal pipe intends to incorporate it into a firearm

suppressor. Other metal pipes are not defined as “firearms” in the statute.

B. Federal law prohibits Texans from making firearm suppressors for personal use in Texas
   without the approval of BATFE.

    49.   Under the National Firearms Act of 1934, as amended by the Gun Control Act of 1968,

“[t]he term ‘make’, and the various derivatives of such word, shall include manufacturing (other

than by one qualified to engage in such business under this chapter), putting together, altering, any

combination of these, or otherwise producing a [firearm suppressor].” 26 U.S.C. § 5845(i);

Compare to 26 U.S.C. § 5845(m) (“The term “manufacturer” means any person who is engaged

in the business of manufacturing [firearm suppressors].)”


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   50.   Thus, under federal law, a person “makes” a firearm suppressor if it is intended for

personal use, but “manufactures” a firearm suppressor if it is intended for sale.

   51.    “No person shall make a [firearm suppressor] unless he has (a) filed with the Secretary

a written application, in duplicate, to make and register the [firearm suppressor] on the form

prescribed by the Secretary; (b) paid any tax payable on the making and such payment is evidenced

by the proper stamp affixed to the original application form; (c) identified the [firearm suppressor]

to be made in the application form in such manner as the Secretary may by regulations prescribe;

(d) identified himself in the application form in such manner as the Secretary may by regulations

prescribe, except that, if such person is an individual, the identification must include his

fingerprints and his photograph; and (e) obtained the approval of the Secretary to make and register

the [firearm suppressor] and the application form shows such approval. Applications shall be

denied if the making or possession of the [firearm suppressor] would place the person making the

[firearm suppressor] in violation of law.” 26 U.S.C. § 5822.

   52.   “The term ‘Secretary’ means the Secretary of the Treasury or his delegate.” 26 U.S.C.

§ 7701(a)(11)(B). But the term “Secretary” or “Secretary of the Treasury” in Chapter 53 means

the Attorney General. 26 U.S.C. § 7801(a)(2)(A)(i).

   53.   Before the enactment of the Homeland Security Act, the Bureau of Alcohol, Tobacco,

and Firearms, a part of the Treasury Department, enforced the National Firearms Act of 1934. The

Homeland Security Act transferred those responsibilities to BATFE, a part of the Department of

Justice. 28 U.S.C. § 599A. BATFE continues to enforce the National Firearms Act of 1934.




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   54.   “The application to make a firearm, Form 1 (Firearms), must be forwarded directly, in

duplicate, by the maker of the firearm to the Director in accordance with the instructions on the

form.” 27 C.F.R. § 479.64. A copy of Form 1 is attached as Exhibit 3.

   55.   The Form 1 must be “executed under the penalties of perjury,” and submitted along with

$200. 27 C.F.R. § 479.62(b)(1).

   56.   “[On the Form 1,] the applicant shall provide the applicant’s name, address, and date of

birth, and also comply with the identification requirements prescribed in § 479.63(a).” 27 C.F.R.

§ 479.62(b)(2).

   57.   “If the applicant is an individual, the applicant shall [on the Form 1] (1) Securely attach

to each copy of the Form 1, in the space provided on the form, a 2 x 2-inch photograph of the

applicant, clearly showing a full front view of the features of the applicant with head bare, with the

distance from the top of the head to the point of the chin approximately 1 1/4 inches, and which

shall have been taken within 1 year prior to the date of the application; and (2) Attach to the

application two properly completed FBI Forms FD-258 (Fingerprint Card). The fingerprints must

be clear for accurate classification and should be taken by someone properly equipped to take

them.” 27 C.F.R. § 479.63(a).

   58.   An applicant who wishes to make a firearm suppressor for personal use must also include

on the Form 1 “[a] description of the [firearm suppressor] to be made by type; caliber, gauge, or

size; model; length of barrel; serial number; other marks of identification.” 27 C.F.R.

§ 479.62(b)(3).

   59.   The applicant must also provide “[t]he applicant’s Federal firearms license number (if

any)” and “special (occupational) tax stamp (if applicable).” 27 C.F.R. § 479.62(b)(4), (5).



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    60. “If the applicant … is an alien admitted under a nonimmigrant visa, applicable

documentation demonstrating that the nonimmigrant alien” is allowed to possess a firearm

suppressor. 27 C.F.R.§ 479.62(b)(6).

    61.     Although not required by statute, “Prior to the submission of the application to the

Director, all applicants … shall forward a completed copy of Form 1 … to the chief law

enforcement officer of the locality in which the applicant … is located. The chief law enforcement

officer is the local chief of police, county sheriff, head of the State police, or State or local district

attorney or prosecutor.” 27 C.F.R. § 479.62(c).

    62.     Although not required by statute or rule, the ATF Form 1 also requires the applicant to

submit his or her social security number. Exhibit 3.

    63.     Although not required by statute or rule, the ATF Form 1 also requires the applicant to

identify his or her race and ethnicity. Exhibit 3.

    64.     “If the application is approved, the Director will affix a National Firearms Act stamp to

the original application in the space provided therefor and properly cancel the stamp. The

approved application will then be returned to the applicant.” 27 C.F.R. § 479.62(d).

    65.     “The Director will consider the application for approval or disapproval. If the application

is approved, the Director will return the original thereof to the maker of the firearm and retain the

duplicate. Upon receipt of the approved application, the maker is authorized to make the firearm

described therein. The maker of the firearm shall not, under any circumstances, make the firearm

until the application, satisfactorily executed, has been forwarded to the Director and has been

approved and returned by the Director with the National Firearms Act stamp affixed.” 27 C.F.R.

§ 479.64.



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     66.       “An application to make a firearm shall not be approved by the Director if the making or

possession of the firearm would place the person making the firearm in violation of law.” 27 C.F.R.

§ 479.65. “If the application is disapproved, the original Form 1 (Firearms) and the remittance

submitted by the applicant for the purchase of the stamp [$200] will be returned to the applicant

with the reason for disapproval stated on the form.” 27 C.F.R. § 479.64.

     67.       On information and belief, BATFE approves or denies Form 1 applications in two to four

weeks.

     68.       Plaintiffs filed this lawsuit on February 24, 2022.

     69.       On information and belief, BATFE denied 850 Form 1 applications to make firearms

suppressors on February 28, 2022. 6

     70.       On information and belief, on March 3, 2022, ATF sent the following message to

thousands of persons with pending Form 1 applications:

     Dear eForm applicant:

     The National Firearms Act (NFA) Division received your ATF eForm 1, Application to
     Make and Register a Firearm. As part of the application process, NFA Division must confirm
     that the making or possession of a firearm would not place the applicant in violation of the
     law [footnote omitted].

     NFA Division requires that you provide certain additional information so that it may
     determine whether your eForm 1 application to make a silencer may lawfully be approved.
     Specifically, please submit to NFA Division the following:

           •     Pictures of the parts that you will use to make the silencer (the pictures should be
                 clear and allow identification of the parts photographed);

6See, e.g., “ATF Mass Denial of Suppressor Form 1 Applications” (March 7, 2022)
https://www.nraila.org/articles/20220307/atf-mass-denial-of-suppressor-form-1-applications;
“ATF Form 1 Update: Take Action Now!” (March 4, 2022)
https://americansuppressorassociation.com/atf-form-1-update-take-action-now/; March 16,
2022 letter from 26 Senators to ATF (Exhibit 5); March 18, 2022 Letter from 141
Representatives to ATF (Exhibit 6).

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         •     A description of the process you will use to assemble or fabricate the silencer;

         •     The product, model or kit name, if any, of each device and/or part that you will use
               to make the silencer; and

         •     The source from which the parts were obtained, i.e. the name of the store, website,
               etc.

   … Without the additional descriptive information, NFA Division will be unable to
   determined whether the eForm 1 application to make a silencer may lawfully be approved.
   Therefore, failure to submit the requested information by March 25, 2022 will result in
   your application being disapproved and your $200 making tax refunded [emphasis in
   original].

   71.       No statute, regulation, or instruction on the Form 1 requires that applicants provide this

“additional information.”

   72.       Moreover, because the NFA at 18 U.S.C. § 921(a)(24) defines “any part intended only

for use in” “assembling or fabricating a [firearm suppressor]” as a firearm suppressor, Plaintiffs

are concerned that compliance with BATFE’s request for “additional information” would require

them to incriminate themselves by disclosing possession of parts intended to be used in making the

firearm suppressor that is the subject of the application.

   73.       BATFE apparently believes that it can extend the application process indefinitely and ask

for any “additional information” it wants. This includes additional information which could be

used by BATFE to prosecute Form 1 applicants under the provision of the NFA declaring parts

intended to be used to make a firearm suppressor are regulated as if they are already firearm

suppressors.




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C. Everyone who makes a suppressor in Texas for personal use in Texas must pay a tax of
    $200.

   74.   There is a federal excise tax of 10% or 11% on the sale of most firearms. 26 U.S.C. § 4181.

However, there is an exemption entitled “Machine guns and short barrelled [sic] firearms”: “The

tax imposed by section 4181 shall not apply to any firearm on which the tax provided by section

5811 has been paid.” 26 U.S.C. § 4182(a). Despite the exemption’s title, it applies to all “firearms”

regulated under the National Firearms Act of 1934, including firearm suppressors.

   75.   The tax on making firearms suppressors and other “firearms” regulated under the

National Firearms Act of 1934 is $200. “There shall be levied, collected, and paid upon the making

of a [firearm suppressor] a tax at the rate of $200 for each firearm made.” 26 U.S.C. § 5821(a).

“The tax imposed by subsection (a) of this section shall be paid by the person making the [firearm

suppressor].” 26 U.S.C. § 5821(b). “The tax imposed by subsection (a) of this section shall be

payable by the stamp prescribed for payment by the Secretary.” 26 U.S.C. § 5821(c). “Payment of

the tax on the making of a firearm shall be represented by a $200 adhesive stamp bearing the words

‘National Firearms Act.’ The stamps are maintained by the Director.” 27 C.F.R. § 479.61.

   76.   In 1934, the $200 amount “was decided because that was the average cost of a machine

gun, and a 100% tax would thereby be imposed.” Halbrook, supra, at 50; Firearms Law and the

Second Amendment at 571.

   77.   Before the enactment of the Firearms Act of 1934, a firearm suppressor cost about five

dollars. Halbrook, supra, at 50.




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      78.   The amount of the tax—$200—has not changed since 1934. Firearms Law and the Second

Amendment at 578; 26 U.S.C. § 5821(a). According to the online inflation calculator maintained by

the United States Bureau of Labor Statistics, $200 in 1934 is equivalent to over $4,000 today.7

      79.   The regular firearms sales tax has an exemption: “The tax imposed by section 4181 shall

not apply to any pistol, revolver, or firearm described in such section if manufactured, produced,

or imported by a person who manufactures, produces, and imports less than an aggregate of 50 of

such articles during the calendar year.” 26 U.S.C. § 4182(c)(1). There is no such exemption for

makers of “firearms” regulated by the National Firearms Act of 1934, including firearm

suppressors.

D. All newly made firearm suppressors must be registered—including those made by Texans
   for personal use in Texas.

      80. Once BATFE approves an application, the firearm suppressor must be registered.

      81.   Firearm suppressors are registered in the National Firearms Registration and Transfer

Record. 26 U.S.C. § 5841(a). “The registry shall include (1) identification of the [firearm

suppressor]; (2) date of registration; and (3) identification and address of person entitled to

possession of the [firearm suppressor].” Id.

      82. “Each … maker shall register each [firearm suppressor] he … makes.” 26 U.S.C.

§ 5841(b).

      83.   “Each … maker … of a [firearm suppressor] shall, prior to … making a [firearm

suppressor], obtain authorization in such manner as required by this chapter or regulations issued

thereunder to … make … the [firearm suppressor], and such authorization shall effect the

registration of the [firearm suppressor] required by this section.” 26 U.S.C. § 5841(c). “The


7   https://www.bls.gov/data/inflation_calculator.htm
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approval by the Director of an application, Form 1 (Firearms), to make a firearm under this subpart

shall effectuate registration of the firearm described in the Form 1 (Firearms) to the person making

the firearm.” 27 C.F.R. § 479.71.

   84. “A person possessing a [firearm suppressor] registered as required by this section shall

retain proof of registration which shall be made available to the Secretary upon request.” 26 U.S.C.

§ 5841(e). “The original Form 1 (Firearms) showing approval by the Director shall be retained by

the maker to establish proof of his registration of the firearm described therein, and shall be made

available to any ATF officer on request.” 27 C.F.R. § 479.71.

E. All firearm suppressors must be marked with an individual serial number and other
   information—including those made by Texans for personal use in Texas.

   85.   Once BATFE approves an application, the firearm suppressor must have a serial number.

   86.   “[A]nyone making a [firearm suppressor] shall identify each [firearm suppressor] … by

a serial number which may not be readily removed, obliterated, or altered, the name of the …

maker, and such other identification as the Secretary may by regulations prescribe.” 26 U.S.C.

§ 5842(a).

   87.   A maker of a firearm suppressor “must legibly identify the [firearm suppressor] [b]y

engraving, casting, stamping (impressing), or otherwise conspicuously placing or causing to be

engraved, cast, stamped (impressed) or placed on the frame or receiver thereof an individual serial

number. The serial number must be placed in a manner not susceptible of being readily obliterated,

altered, or removed, and must not duplicate any serial number placed by you on any other firearm.

For firearms manufactured, imported, or made on and after January 30, 2002, the engraving,

casting, or stamping (impressing) of the serial number must be to a minimum depth of .003 inch

and in a print size no smaller than 1/16 inch; and also] certain additional information … [including]:


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(i) The model, if such designation has been made; (ii) The caliber or gauge; (iii) Your name (or

recognized abbreviation) … (iv) In the case of a domestically made firearm, the city and State (or

recognized abbreviation thereof) where you … as the maker, made the firearm.” 27 C.F.R.

§ 479.102(a).

    88. “The depth of all markings required by this section will be measured from the flat surface

of the metal and not the peaks or ridges. The height of serial numbers required by paragraph (a)(1)

of this section will be measured as the distance between the latitudinal ends of the character

impression bottoms (bases).” 27 C.F.R. § 479.102(b).

F. Prohibited Acts and Penalties for Makers of Firearm Suppressors

    89.    It is unlawful for any person to

          • “possess a [firearm suppressor] made in violation of the provisions of this chapter;”

          • “possess a [firearm suppressor] which is not registered to him in the National Firearms

             Registration and Transfer Record;”

          • “make a [firearm suppressor] in violation of the provisions of this chapter;” or

          • “possess a [firearm suppressor] which is not identified by a serial number as required by

             this chapter.”

26 U.S.C. § 5861(c), (d), (f), (i).

    90. The penalties for any of the above violations are as follows:

          • “Any person who violates or fails to comply with any provision of this chapter shall, upon

             conviction, be fined not more than $10,000, or be imprisoned not more than ten years,

             or both.”




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         • “Any [firearm suppressor] involved in any violation of the provisions of this chapter shall

            be subject to seizure and forfeiture.”

26 U.S.C. §§ 5871, 5872.

   91.    Thus, a person who makes a firearm suppressor in Texas for personal use in Texas

without obtaining BATFE’s advance permission, without paying the $200 tax, without registering

it, and without engraving a unique serial number on the suppressor faces ten years imprisonment,

or a fine of not more than $10,000, or both.

                                           V. TEXAS LAW

   92.    Under Texas law, “‘Firearm suppressor’ means any device designed, made, or adapted

to muffle the report of a firearm.” TEX. GOV’T CODE § 2.001(2).

   93.    “‘Manufacture’ includes forging, casting, machining, or another process for working a

material.” TEX. GOV’T CODE § 2.001(4).

   94.    Under the National Firearms Act of 1934, “[t]he term ‘make’, and the various

derivatives of such word, shall include manufacturing (other than by one qualified to engage in

such business under this chapter), putting together, altering, any combination of these, or

otherwise producing a [firearm suppressor].” 26 U.S.C. § 5845(i); Compare to 26 U.S.C. § 5845

(“The term “manufacturer” means any person who is engaged in the business of manufacturing

[firearm suppressors].)” Federal law thus distinguishes between (1) persons who “make” a

firearm and who are not in the business of manufacturing firearms and (2) persons who are in the

business of manufacturing firearms. Chapter 2 of the Texas Government Code does not make this

same distinction.




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   95.     “For the purposes of this subchapter, a firearm suppressor is manufactured in this state

if the item is manufactured: (1) in this state from basic materials; and (2) without the inclusion of

any part imported from another state other than a generic and insignificant part.” TEX. GOV’T

CODE § 2.051.

   96.     “‘Generic and insignificant part’ means an item that has manufacturing or consumer

product applications other than inclusion in a firearm suppressor. The term includes a spring,

screw, nut, and pin.” TEX. GOV’T CODE § 2.001(3).

   97.     Under Texas law, “A firearm suppressor that is manufactured in this state and remains

in this state is not subject to federal law or federal regulation, including registration, under the

authority of the United States Congress to regulate interstate commerce.” TEX. GOV’T CODE

§ 2.052(a).

   98.     “A basic material from which a firearm suppressor is manufactured in this state,

including unmachined steel, is not a firearm suppressor and is not subject to federal regulation

under the authority of the United States Congress to regulate interstate commerce as if it actually

were a firearm suppressor.” TEX. GOV’T CODE § 2.052(b).

   99.     “A firearm suppressor manufactured and sold in this state must have the words ‘Made

in Texas’ clearly stamped on it.” TEX. GOV’T CODE § 2.053.

   100. “On written notification to the attorney general by a United States citizen who resides in

this state of the citizen’s intent to manufacture a firearm suppressor to which Section 2.052

applies, the attorney general shall seek a declaratory judgment from a federal district court in this

state that Section 2.052 is consistent with the United States Constitution.” TEX. GOV’T CODE

§ 2.054.



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   101. On July 28, 2021, BATFE issued an “open letter” stating that “because [Chapter 2 of

the Texas Government Code] directly conflicts with federal firearms laws and regulations, federal

law supersedes [Chapter 2]. In summary, all provisions of the Gun Control Act (GCA) and the

National Firearms Act [of 1934] (NFA), including their corresponding regulations, continue to

apply to [federal firearms licensees] and other persons in Texas.” Exhibit 4.

                       VI. REVIEW OF LAWS THAT IMPINGE
                        ON SECOND AMENDMENT RIGHTS

   102. The government cannot tax the exercise of Second Amendment rights. Murdock v. Com.

of Pennsylvania, 319 U.S. 105, 113 (1943). Post-Heller, taxing the making of firearms in Texas for

personal use in Texas is taxing the exercise of a constitutional right, and is prohibited.

   103. Post-Heller, most courts review regulation of the right to keep and bear arms under a two-

part test. “[T]he first step is to determine whether the challenged law impinges upon a right

protected by the Second Amendment—that is, whether the law regulates conduct that falls within

the scope of the Second Amendment’s guarantee; the second step is to determine whether to apply

intermediate or strict scrutiny to the law, and then to determine whether the law survives the

proper level of scrutiny.” Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, &

Explosives, 700 F.3d 185, 194 (5th Cir. 2012) (“NRA v. BATFE”) (collecting cases); see also Heller

v. District of Columbia, 670 F.3d 1244, 1252 (D.C. Cir. 2011) (Heller II).

   104. “A regulation that threatens a right at the core of the Second Amendment—for example,

the right of a law-abiding, responsible adult to possess and use a handgun to defend his or her home

and family—triggers strict scrutiny. A less severe regulation—a regulation that does not encroach

on the core of the Second Amendment—requires a less demanding means-ends showing.” NRA

v. BATFE, 700 F.3d at 195 (citations omitted).

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   105. “This more lenient level of scrutiny could be called ‘intermediate’ scrutiny, but

regardless of the label, this level requires the government to demonstrate a ‘reasonable fit’ between

the challenged regulation and an ‘important’ government objective.” Id.

   106. Post-Heller, courts may not review firearms regulation under a rational-basis standard of

review. Id. at 195–96.

   107. Federal laws and regulations which require Texans to apply for and receive permission

to make firearm suppressors for personal use in Texas impinge upon a right protected by the

Second Amendment.

   108. Those laws and regulations do not survive intermediate scrutiny (much less the more

stringent strict scrutiny standard of review)

   109. Under the intermediate-scrutiny test courts ask whether the State’s interests in

proscribing a regulation are substantial, whether the challenged regulation advances these interests

in a direct and material way, and whether the extent of the restriction on the exercise of a

constitutional right is in reasonable proportion to the interests served. Edenfield v. Fane, 507 U.S.

761, 767 (1993).

   110. In undertaking the first inquiry under intermediate scrutiny, courts must identify with

care the interests the State itself asserts. Unlike rational-basis review, the intermediate-scrutiny

standard does not permit courts to supplant the precise interests put forward by the State with

other suppositions. And courts must judge whether the stated interests are the actual interests

served by the restriction. Edenfield, 507 U.S. at 768.




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   111. Under an intermediate scrutiny standard of review, the government bears the burden of

justifying (i.e., both the burden of production and persuasion) the challenged statute. J & B Entm’t,

Inc. v. City of Jackson, Miss., 152 F.3d 362, 370 (5th Cir. 1998).

   112. Raising revenue is not a sufficient justification for specifically taxing the exercise of a

constitutional right. Minneapolis Star & Tribune Co. v. Minnesota Comm’r of Revenue, 460 U.S. 575,

586–90 (1983).

   113. The government cannot demonstrate that taxing or regulating the making of firearm

suppressors (unlike hand grenades) for personal use in Texas is necessary for public health and

safety. See United States v. Freed, 401 U.S. 601, 609 (1971) (upholding the National Firearms Act

of 1934 with respect to hand grenades because “possession of hand grenades is not an innocent act.

They are highly dangerous offensive weapons.”). The government cannot point to any harm that

taxing or regulating that making of firearm suppressors for personal use in Texas alleviates.

   114. Moreover, the government’s burden is not satisfied by mere speculation or conjecture.

Instead, it “must demonstrate that the harms it recites are real and that the restriction will in fact

alleviate them.” Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 555 (2001).

   115. Possessing firearm suppressors is legal, but taxing and regulating of making firearm

suppressors in Texas for personal use in Texas is excessive and oppressive and have no valid

purpose.

   116. Firearm suppressors are not dangerous and were not regulated at all for the first several

decades after their invention.

   117. Firearm suppressors are widely accepted and very infrequently used in criminal activity.

They are commonly used by law enforcement, the military, and citizens.



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                                         VII. CLAIMS

                                              COUNT I

   The Court should enjoin federal law requiring Texans to apply for and receive
   permission to make firearm suppressors for personal use in Texas because that law
   violates the Second Amendment.

   118. Plaintiffs incorporate by reference all preceding paragraphs.

   119. The National Firearms Act of 1934, as amended, and the regulations made pursuant

thereto requiring Texans to apply for and receive permission to make firearm suppressors in Texas

for personal use in Texas are unconstitutional.

   120. Federal laws and regulations which require Texans to apply for and receive permission

to make firearm suppressors for personal use in Texas impinge upon a right protected by the

Second Amendment.

   121. Those laws and regulations do not survive intermediate scrutiny (much less the more

stringent strict scrutiny standard of review).

   122. Applying intermediate scrutiny, the government must produce substantial evidence to

justify its requirement that Texans apply for and receive permission to make firearm suppressors

for personal use in Texas. It cannot do so.

   123. The government cannot point to any harm that requiring Texans to apply for and receive

permission to make firearm suppressors for personal use in Texas alleviates.

   124. Requiring Texans to apply for and receive permission to make firearm suppressors in

Texas for personal use in Texas is excessive and oppressive and has no valid purpose.




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   125. Other than time-manner-place restrictions, which the firearm application process is not,

the Constitution prohibits the federal government from requiring permission to exercise

constitutional rights.

   126. The Constitution prohibits the federal government from requiring that Texans apply for

and receive permission before making of a firearm suppressor in Texas that will only be used in

Texas.

   127. The Constitution prohibits the federal government from requiring that Schnitz, Martin,

and Allen apply for and receive permission before making of a firearm suppressor in Texas that will

only be used for their own home defense in Texas.

   128. Moreover, 18 U.S.C. § 921(a)(24) defines parts intended solely to be used in making a

firearm suppressor as themselves being firearms suppressors and subject to all the requirements of

the NFA. In light of BATFE’s current process of requesting pictures of such parts in the process

of seeking permission to make a firearm suppressor, Schnitz, Martin, and Allen cannot even begin

the process of applying for and receiving permission to make a firearm suppressor without exposing

themselves to potential criminal prosecution on account of their possession of the parts disclosed

in the application. The Constitution prohibits the federal government from imposing such a Catch

22 on Texans prior to exercising their constitutional rights.

   129. The purpose of Count I is not to “restrain[ ] the assessment or collection of [a] tax,” so

the AIA does not apply. CIC Services, 141 S. Ct. at 1592.

                                           COUNT II

   The Court should enjoin federal law requiring Texans to pay a $200 tax on making
   firearm suppressors for personal use in Texas because that law violates the Second
   Amendment.

   130. Plaintiffs incorporate by reference all preceding paragraphs.
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    131. The National Firearms Act of 1934, as amended, and the regulations made pursuant

thereto requiring Texans to pay a $200 tax on the making of firearm suppressors in Texas for

personal use in Texas are unconstitutional.

    132. The $200 tax is an unconstitutional tax on the exercise of a constitutional right. Murdock,

319 U.S. at 113.

    133. In the alternative, federal laws and regulations which require Texans to pay a $200 tax on

making firearm suppressors for personal use in Texas impinge upon a right protected by the Second

Amendment.

    134. Those laws and regulations do not survive intermediate scrutiny (much less the more

stringent strict scrutiny standard of review).

    135. Applying intermediate scrutiny, the government must produce substantial evidence to

justify its requirement that Texans pay a $200 tax on making firearm suppressors for personal use

in Texas. It cannot do so.

    136. The government cannot point to any harm that requiring Texans to pay a $200 tax on

making firearm suppressors for personal use in Texas alleviates.

    137. Requiring Texans to pay a $200 tax on making firearm suppressors in Texas for personal

use in Texas is excessive and oppressive and has no valid purpose.

    138. There are no other examples of direct federal taxes on the exercise of a constitutional

right.

    139. The tax at issue is not a general tax on making goods that incidentally taxes the making of

firearm suppressors.




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   140. The Constitution prohibits the federal government from requiring that Texans pay a

$200 tax on making a firearm suppressor in Texas that will only be used in Texas.

   141. The Constitution prohibits the federal government from requiring that Schnitz, Martin,

and Allen pay a $200 tax on making of a firearm suppressor in Texas that will only be used for their

own home defense in Texas.

                                           COUNT III

   The Court should enjoin federal law requiring Texans to register and place a serial
   number on firearm suppressors made for personal use in Texas because that law
   violates the Second Amendment.

   142. Plaintiffs incorporate by reference all preceding paragraphs.

   143. The National Firearms Act of 1934, as amended, and the regulations made pursuant

thereto requiring Texans to register and place serial number on firearm suppressors made in Texas

for personal use in Texas are unconstitutional.

   144. Federal laws and regulations which require Texans to register and place serial number on

firearm suppressors made in Texas impinge upon a right protected by the Second Amendment.

   145. Those laws and regulations do not survive intermediate scrutiny (much less the more

stringent strict scrutiny standard of review).

   146. Applying intermediate scrutiny, the government most produce substantial evidence to

justify its requirement that Texans register and place serial number on firearm suppressors made

in Texas for personal use in Texas. It cannot do so.

   147. The government cannot point to any harm that requiring Texans to register and place

serial number on firearm suppressors made in Texas for personal use in Texas alleviates.

   148. Requiring Texans to register and place serial number on firearm suppressors made in

Texas for personal use in Texas is excessive and oppressive and has no valid purpose.
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   149. The Constitution prohibits the federal government from requiring that Texans register

and place serial number on firearm suppressors made in Texas will only be used in Texas.

   150. The Constitution prohibits the federal government from requiring that Schnitz, Martin,

and Allen register and place serial number on firearm suppressors made in Texas that will only be

used for their own home defense in Texas.

   151. The purpose of Count IIII is not to “restrain[ ] the assessment or collection of [a] tax,”

so the AIA does not apply. CIC Services, 141 S. Ct. at 1592.

                               VIII. PRAYER FOR RELIEF

       Wherefore, Plaintiffs request that the Court:

   a. Issue permanent injunctive relief enjoining Defendant from requiring Texans to apply for

       and receive permission to make firearm suppressors in Texas for personal use in Texas;

   b. Issue permanent injunctive relief enjoining Defendant from requiring Texans to pay a $200

       tax on the making of firearm suppressors in Texas for personal use in Texas;

   c. Issue permanent injunctive relief enjoining Defendant from requiring Texans to register

       and place serial number on firearm suppressors made in Texas; and

   d. Award other and further relief as the Court deems equitable and just.




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                               CERTIFICATE OF SERVICE

       We certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on May 17, 2022.

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